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      In The United States Court of Federal Claims
                                          No. 05-743 T

                                    (Filed: November 21, 2008)
                                            __________
 ELWOOD J. LEBLANC, JR. AND JANICE L.
 LEBLANC,

                      Plaintiffs,

        v.

 THE UNITED STATES,

                      Defendant.
                                           _________

                                            ORDER
                                           __________

        On November 21, 2008, defendant filed an unopposed motion for a 45-day enlargement
of time in which to respond to plaintiff’s amended complaint. The motion is hereby
GRANTED. Accordingly, on or before January 10, 2009, defendant shall file its response to
plaintiff’s amended complaint. No further enlargements of this deadline will be granted.

       IT IS SO ORDERED.


                                                           s/Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
